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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA
                           CASE NO. 21-21623-CIV-WILLIAMS

  ADONIS TORRES,

          Plaintiff,
  vs.

  GEICO GENERAL INSURANCE CO.,

       Defendant.
  ________________________________/

                                          ORDER

          THIS MATTER is before the Court on Magistrate Judge Chris McAliley’s Report

  and Recommendation (the “Report”) (DE 27) on Plaintiff’s Amended Motion to Remand

  (the “Motion”) (DE 6). In the Report, Judge McAliley explains that because the thirty-day

  (30) removal deadline commenced when Defendant received Plaintiff’s complaint from

  the Florida CFO (March 30, 2021), and not when Plaintiff served the Florida CFO (March

  15, 2021), Defendant’s removal to federal court on April 27, 2021 was timely.

  Accordingly, Judge McAliley recommends that the Motion, which is based on untimely

  removal, be DENIED. The Parties did not file objections to the Report and the time to do

  has now passed. Accordingly, upon an independent review of the Report, the Motion,

  and the Record, it is ORDERED AND ADJUDGED as follows:

          1. The conclusions in the Report (DE 27) are AFFIRMED AND ADOPTED.

          2. Plaintiff’s Amended Motion to Remand (DE 6) is DENIED.

          DONE AND ORDERED in Chambers in Miami, Florida, this 27th day of October,

  2021.
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